                        CASE 0:22-cr-00211-WMW-DTS Doc. 4 Filed 08/05/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     TYRONE MASHAUN WHITE,                     Criminal No. 22-MJ-646 JFD
                            Defendant,
                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: TYRONE MASHAUN WHITE
Detained at (custodian): HENNEPIN COUNTY

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Complaint
                        Charging Detainee With: Possession of Firearm by a Felon
            or          b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on August 8, 2022 at 2:00 p.m. in the courtroom of The Honorable John F. Docherty.

Dated: August 5, 2022                                                                           /s/Thomas Calhoun-Lopez
                                                                                                THOMAS CALHOUN-LOPEZ, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.
   August 5, 2022
____________________________________                                                          s/John F. Docherty
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                                                                            DOB:              xx/xx/1988
     Facility Address:                                                                                 Race:
                                                                                                       FBI #:
     Facility Phone:
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                   (Signature)




                                                                                                                                    Writ issued 8/5/2022
